                   UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Melissa N O’Grady

                                                            Case No.: 5-20-01410 MJC

                                                            Chapter 13
                      Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Pennymac
 Court Claim Number:             11
 Last Four of Loan Number:       1571
 Property Address if applicable: 1234 Wade Ct

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                      $14,165.72
 b.      Prepetition arrearages paid by the trustee:                          $14,165.72
 c.      Amount of postpetition fees, expenses, and charges                   $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                   $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                     $0.00
 f.       Postpetition arrearage paid by the trustee:                         $0.00
 g.       Total b, d, and f:                                                  $14,165.72

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve o01945n the debtor(s),
 their counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: May 22, 2025
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Melissa N O’Grady

                                                           Case No.: 5-20-01410 MJC

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on May 22, 2025 I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 Vincent Rubino, Esquire
 712 Monroe St
 PO Box 511
 Stroudsburg PA 18360-0511


 Served by First Class Mail
 PennyMac Loan Servicing, Inc
 6101 Condor Dr
 Suite 200
 Moorpark CA 93021

 Melissa N O’Grady
 1234 Wade Court West
 Stroudsburg PA 18360



  I certify under penalty of perjury that the foregoing is true and correct.


  Date: May 22, 2025                                    /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                               Disbursements for Claim
Case: 20-01410           MELISSA N. O'GRADY
         PENNYMAC LOAN SERVICES, LLC
                                                                                   Sequence: 24
         P.O. BOX 660929
                                                                                      Modify:
                                                                                  Filed Date:
         DALLAS, TX 75266-0929
                                                                                  Hold Code:
 Acct No: Wade Court W - PRE-ARREARS - 1571
         ARREARS - 1234 WADE COURT WEST


                                                 Debt:        $14,165.72       Interest Paid:              $0.00
        Amt Sched:               $166,089.63                                     Accrued Int:               $0.00
         Amt Due:        $0.00                    Paid:       $14,165.72        Balance Due:                $0.00

Claim name                              Type      Date         Check #      Principal    Interest       Total Reconciled
                                                                                              DisbDescrp
 5200        PENNYMAC LOAN SERVICES, LLC
520-0 PENNYMAC LOAN SERVICES, LLC               05/22/2024      2036611      $384.84       $0.00     $384.84 06/05/2024


520-0 PENNYMAC LOAN SERVICES, LLC               04/17/2024      2035607      $391.00       $0.00     $391.00 04/26/2024


520-0 PENNYMAC LOAN SERVICES, LLC               03/14/2024      2034644      $391.00       $0.00     $391.00 03/22/2024


520-0 PENNYMAC LOAN SERVICES, LLC               02/14/2024      2033684      $391.00       $0.00     $391.00 02/26/2024


520-0 PENNYMAC LOAN SERVICES, LLC               01/12/2024      2032755      $391.00       $0.00     $391.00 01/24/2024


520-0 PENNYMAC LOAN SERVICES, LLC               12/19/2023      2031859      $391.00       $0.00     $391.00 01/03/2024


520-0 PENNYMAC LOAN SERVICES, LLC               11/15/2023      2030902      $391.00       $0.00     $391.00 11/27/2023


520-0 PENNYMAC LOAN SERVICES, LLC               10/18/2023      2029954      $391.00       $0.00     $391.00 10/27/2023


520-0 PENNYMAC LOAN SERVICES, LLC               09/19/2023      2028977      $411.40       $0.00     $411.40 09/28/2023


520-0 PENNYMAC LOAN SERVICES, LLC               08/09/2023      2027955      $874.71       $0.00     $874.71 08/25/2023


520-0 PENNYMAC LOAN SERVICES, LLC               07/11/2023      2026970      $103.99       $0.00     $103.99 07/25/2023


520-0 PENNYMAC LOAN SERVICES, LLC               06/13/2023      2026050      $411.40       $0.00     $411.40 06/26/2023


520-0 PENNYMAC LOAN SERVICES, LLC               05/16/2023      2025114      $343.34       $0.00     $343.34 05/30/2023


520-0 PENNYMAC LOAN SERVICES, LLC               04/18/2023      2024103      $343.34       $0.00     $343.34 05/10/2023



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Claim name                          Type     Date        Check #      Principal   Interest       Total Reconciled
                                                                                       DisbDescrp
520-0 PENNYMAC LOAN SERVICES, LLC          03/15/2023     2023076      $343.34      $0.00     $343.34 03/28/2023


520-0 PENNYMAC LOAN SERVICES, LLC          02/15/2023     2022071      $343.34     $0.00     $343.34 02/23/2023


520-0 PENNYMAC LOAN SERVICES, LLC          01/18/2023     2021070      $343.33     $0.00      $343.33 02/01/2023


520-0 PENNYMAC LOAN SERVICES, LLC          12/13/2022     2020074      $343.34     $0.00     $343.34 12/23/2022


520-0 PENNYMAC LOAN SERVICES, LLC          11/16/2022     2019120      $343.34     $0.00     $343.34 12/19/2022


520-0 PENNYMAC LOAN SERVICES, LLC          10/18/2022     2018084      $343.34     $0.00     $343.34 11/04/2022


520-0 PENNYMAC LOAN SERVICES, LLC          09/13/2022     2017016      $362.17     $0.00     $362.17 09/26/2022


520-0 PENNYMAC LOAN SERVICES, LLC          08/17/2022     2016008      $362.17     $0.00     $362.17 08/29/2022


520-0 PENNYMAC LOAN SERVICES, LLC          07/13/2022     2014936      $362.17     $0.00     $362.17 07/26/2022


520-0 PENNYMAC LOAN SERVICES, LLC          06/14/2022     2013970      $337.06     $0.00      $337.06 07/05/2022


520-0 PENNYMAC LOAN SERVICES, LLC          05/17/2022     2012938      $337.07     $0.00     $337.07 06/01/2022


520-0 PENNYMAC LOAN SERVICES, LLC          04/12/2022     2011857      $337.06     $0.00      $337.06 05/04/2022


520-0 PENNYMAC LOAN SERVICES, LLC          03/16/2022     2010841      $337.07     $0.00     $337.07 03/23/2022


520-0 PENNYMAC LOAN SERVICES, LLC          02/16/2022     2009853      $337.07     $0.00     $337.07 03/01/2022


520-0 PENNYMAC LOAN SERVICES, LLC          01/19/2022     2008883      $337.06     $0.00      $337.06 02/01/2022


520-0 PENNYMAC LOAN SERVICES, LLC          12/15/2021     2007867      $337.07     $0.00     $337.07 12/24/2021


520-0 PENNYMAC LOAN SERVICES, LLC          11/16/2021     2006843      $337.06     $0.00      $337.06 12/02/2021


520-0 PENNYMAC LOAN SERVICES, LLC          10/14/2021     2005814      $337.07     $0.00     $337.07 10/26/2021


520-0 PENNYMAC LOAN SERVICES, LLC          09/14/2021     2004768      $347.03     $0.00      $347.03 09/30/2021


520-0 PENNYMAC LOAN SERVICES, LLC          08/18/2021     2003766      $347.03     $0.00      $347.03 08/30/2021


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Claim name                          Type     Date           Check #      Principal   Interest       Total Reconciled
                                                                                          DisbDescrp
520-0 PENNYMAC LOAN SERVICES, LLC          07/14/2021       2002695       $347.03      $0.00     $347.03 07/29/2021


520-0 PENNYMAC LOAN SERVICES, LLC          06/16/2021       2001720       $347.03     $0.00      $347.03 07/01/2021


520-0 PENNYMAC LOAN SERVICES, LLC          05/18/2021       2000716       $347.03     $0.00      $347.03 06/08/2021


520-0 PENNYMAC LOAN SERVICES, LLC          04/15/2021       1229334       $335.95     $0.00      $335.95 04/26/2021


520-0 PENNYMAC LOAN SERVICES, LLC          03/17/2021       1228324       $304.47     $0.00     $304.47 04/02/2021


                                                         Sub-totals: $14,165.72       $0.00 $14,165.72

                                                        Grand Total: $14,165.72       $0.00




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